
USCA1 Opinion

	










          June 14, 1995         [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________

        No. 94-1819

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   RUSSELL DiNOVO,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                           Boudin and Lynch, Circuit Judges,
                                             ______________
                        and Schwarzer,* Senior District Judge.
                                        _____________________

                                 ____________________

            Lawrence P.  Murray  with whom  Henry F.  Owens, III  and Owens  &amp;
            ___________________             ____________________      ________
        Associates were on brief for appellant.
        __________
            Emily R.  Schulman, Assistant  United States  Attorney, with  whom
            __________________
        Donald K. Stern, United States Attorney, was on brief for appellee.
        _______________


                                 ____________________


                                 ____________________

        ________________________

        * Of the District of Northern California, sitting by designation.


















                 Per Curiam.  On December 9, 1992, officer John Albert of
                 __________

            the Cambridge Police  Department spotted  appellant-defendant

            Russell  DiNovo driving  with a  male passenger  in a  Toyota

            Camry traveling along Cambridge Street.  When the car stopped

            in traffic,  Albert observed that  its right rear  window was

            missing,  that pieces of glass  were in the  car's door frame

            and that a screwdriver was inserted in the ignition.  A check

            of the car's license  plate number revealed that the  car had

            been  stolen earlier  that day.   Based on  this information,

            police officers  shortly thereafter arrested  DiNovo and  the

            passenger, Irving Lee.

                 During  the course  of the  arrest, Albert  noticed that

            both  men were wearing two  sets of clothes.   Upon searching

            DiNovo, police discovered what appeared to be a homemade mask

            made out of a shirt sleeve.  A second mask was later found in

            the  police  wagon that  transported  DiNovo and  Lee  to the

            police  station.   A  search of  the  Camry yielded  a loaded

            Beretta 9 millimeter semi-automatic pistol located underneath

            the front seat of the car.  A palm print lifted from the butt

            of the pistol matched DiNovo's left palm.

                 DiNovo  was  charged  with  being  a  felon  in  knowing

            possession  of  a  firearm  in  violation  of  18  U.S.C.    

            922(g)(1).   At  trial,  DiNovo took  the  position that  the

            evidence did  not establish that  he had  ever possessed  the

            Beretta,  but  he was  nevertheless  convicted  by the  jury.



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            Because  DiNovo  had three  previous convictions  for violent

            crimes, he was sentenced under the Armed Career Criminal Act,

            18  U.S.C.   924(e), to 235 months' imprisonment.  On appeal,

            DiNovo challenges both his conviction and sentence.

                 DiNovo first objects to the  admission of the two pieces

            of  cloth that the jury could  reasonably have concluded were

            homemade masks.   The masks, together  with other indications

            that a robbery was  planned, helped to supply a basis for the

            jury to infer a motive for DiNovo's possession of the weapon.

            While the masks thus fall within the literal terms of Fed. R.

            Evid.  404(b), DiNovo objects that the inference of a planned

            robbery was too thin to satisfy Rule 404(b) and the potential

            for prejudice too great to justify admissibility of the masks

            under Fed. R. Evid. 403.

                 The district court's judgment on issues of this  kind is

            normally  given wide  latitude.   See  Espeaignnette v.  Gene
                                              ___  _____________     ____

            Tierney Co.,  Inc., 43 F.3d  1, 5  (1st Cir. 1994).   In  all
            __________________

            events,  the masks  together with other  evidence--the stolen

            car, the double suits  of clothes--made the inference  that a

            robbery was planned far  more than mere speculation.   As for

            the balancing  of need versus  prejudice under Rule  403, the

            government had ample need for the motive evidence in order to

            confirm DiNovo's  connection with  the weapon.   The  risk of

            unfair prejudice  was quite limited compared  to 404(b) cases

            inwhich evidence of actualprior crimes is regularly admitted.



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                 DiNovo's second major objection relates  to the district

            court's charge on the definition of possession.  The district

            court's charge  for the most  part described the  concepts of

            actual and constructive possession  in terms that were either

            conventional or  generally helpful to DiNovo.   DiNovo's main

            complaint is  that the district  court refused to  include in

            the  charge   certain  language   proposed  by   the  defense

            including,  most  importantly,  an  instruction  that "[m]ere

            incidental  touching  or  handling  of the  object  does  not

            constitute possession."   On appeal, DiNovo  argues that this

            proposed  request  was a  proper  statement  of  the law  and

            necessary in light of  DiNovo's theory that his print  on the

            weapon might be explained by a mere touching.

                 On theory of the  defense grounds, DiNovo might arguably

            have been entitled to some instruction that made clear to the

            jury  that  not  every  incidental contact  with  the  weapon

            automatically compelled the jury to find possession.  But the

            language proposed by DiNovo  went much further.  It  extended

            to  an "incidental  . .  . handling"  of the  weapon,  and it
                                                                   ___

            essentially  directed  the  jury   that  such  an  incidental

            handling  would never  be  enough to  convict.   Whether  the

            quoted  language   is  regarded   as  confusing  or   a  flat

            overstatement, it  is plain that  the district court  was not

            obliged to give this instruction.





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                 A defendant  who requests  an instruction is  obliged to

            provide an instruction that accurately reflects the law.  See
                                                                      ___

            United States v. Iaciofano, 734 F.2d 87, 90 (1st Cir.), cert.
            _____________    _________                              _____

            denied,  469  U.S. 850  (1984).   The  district judge  is not
            ______

            obliged to carve down  and preserve the unspoiled core  of an

            otherwise  tainted piece  of  fruit.   In this  instance, the

            district court, in response to DiNovo's request, modified the

            possession  charge to say  that the defendant  had to possess

            the  weapon "knowingly" and  "[k]nowingly means  he possessed

            with  intent  to  exercise  dominion  and  control  over  the

            firearm."   Not only  did the court  properly reject DiNovo's

            overstated  or confusing  instruction,  but it  gave him  the

            substance of what he might reasonably have requested.

                 DiNovo's third argument is that the district court erred

            when, on a  request by the jury, it provided  the jury with a

            magnifying  glass--presumably  sought  to examine  exhibits--

            during its deliberations.  DiNovo complains that the district

            court should  not have supplied this glass without asking the

            jury about  its precise intended purpose  and giving limiting

            directions  as to its proper  use.  Improper  use, DiNovo now

            contends,  might distort the appearance of an exhibit.

                 At trial  DiNovo's counsel  objected to giving  the jury

            the magnifying  glass but  never asked  the judge  to inquire

            into its  intended use or  give jurors any  instructions, nor

            did  DiNovo  identify for  the  district  court any  specific



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            potential  misuse  of  the  magnifying  glass  against  which

            precautions  should be  taken.   Jury management  matters are

            normally within the district court's sound discretion, and if

            DiNovo wanted  questions to  be  asked or  limitations to  be

            imposed,  he was obliged to  say this to  the district judge.

            There is  certainly no plain  error in  the district  judge's

            handling of the matter.

                 Finally,  DiNovo   objects   to  a   procedural   ruling

            pertaining  to  his sentencing.    DiNovo  received the  pre-

            sentence report on April 19, 1994, was given two continuances

            at  his own request, and finally was scheduled for sentencing

            on July  13.  On  that date,  DiNovo's CJA  counsel moved  to

            continue  the sentencing  and  withdraw  because of  DiNovo's

            dissatisfaction  with  counsel's representation  and DiNovo's

            assertion that he might after investigation wish to challenge

            the validity of  certain of the  prior convictions listed  in

            the pre-sentence report.

                 Custis  v.  United  States,  113  S.  Ct.  1732  (1994),
                 ______      ______________

            narrowed the grounds on  which a defendant may  at sentencing

            attack  a prior  conviction under  the Armed  Career Criminal

            Act.   When at sentencing  DiNovo expressed a  desire to have

            his  earlier convictions  investigated,  the  district  court

            inquired of defense counsel  and counsel explained that under

            Custis  he believed  that DiNovo  had no  basis to  attack at
            ______

            sentencing  any of  his prior  convictions.   It was  at that



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            point  that the  district  court refused  to replace  defense

            counsel or to continue the sentencing for a third time.

                 Neither  in the  district court  nor in  this court  has

            DiNovo  explained what  purpose would have  been served  by a

            continuance.    He  does not  claim  that  any  of the  prior

            convictions were  obtained without representation  by counsel

            nor  has  he pointed  to any  other  reason for  delaying his

            sentencing  except  a generalized  desire to  investigate his

            prior convictions.  Under  these circumstances one can hardly

            say that the district court abused its discretion in refusing

            a third continuance of the sentencing or that DiNovo has been

            prejudiced by the district court's refusal.

                 In  the  closing  paragraphs addressed  to  this  issue,

            DiNovo's brief on appeal says  that his counsel at sentencing

            misread  Custis and  that  DiNovo was  deprived of  effective
                     ______

            assistance of counsel at sentencing.  It is by no means clear

            on  this  record  that  defense  counsel  misunderstood   the

            limitations   imposed  by   Custis   or  that,   if  he   did
                                        ______

            misunderstand  them, his  misunderstanding had  any practical

            importance in this case.  In all events, the ordinary rule is

            that  attacks  on  the  adequacy of  trial  counsel  are  not

            normally considered  on direct  appeal, but are  reserved for

            proceedings under 28  U.S.C.    2255.  See  United States  v.
                                                   ___  _____________

            Mala, 7 F.3d 1058, 1063 (1st Cir. 1993), cert. denied, 114 S.
            ____                                     _____ ______





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            Ct. 1839 (1994).   This case illustrates the reasons  for the

            rule, and we invoke it here. 

                 Affirmed.
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